Case 3:24-cv-09172-MAS-RLS   Document 19-5   Filed 03/04/25   Page 1 of 6 PageID:
                                    199
Case 3:24-cv-09172-MAS-RLS   Document 19-5   Filed 03/04/25   Page 2 of 6 PageID:
                                    200
Case 3:24-cv-09172-MAS-RLS   Document 19-5   Filed 03/04/25   Page 3 of 6 PageID:
                                    201
Case 3:24-cv-09172-MAS-RLS   Document 19-5   Filed 03/04/25   Page 4 of 6 PageID:
                                    202
Case 3:24-cv-09172-MAS-RLS   Document 19-5   Filed 03/04/25   Page 5 of 6 PageID:
                                    203
Case 3:24-cv-09172-MAS-RLS   Document 19-5   Filed 03/04/25   Page 6 of 6 PageID:
                                    204
